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 4
                        IN THE UNITED STATES DISTRICT COURT
 5
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 6

 7
     UNITED STATES OF AMERICA,
 8
          Plaintiff,                                     CR-S-05-0228-EIG
 9

10        v.                                                    Order

11   HEATHER L. COLEMAN,

12        Defendant.
13

14        In light of the charges in the information, all of the
15 district and magistrate judges of the Eastern District of

16 California are recused on this matter.            The Ninth Circuit will
17 assign an out-of-district judge to hear this case.              The clerk
18 will make the appropriate adjustment as to the first assigned

19 judge.

20               IT IS SO ORDERED.
21
     Dated: 6/6/2005
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25                                        DAVID F. LEVI
                                          Chief United States District Judge
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